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                        IN THE UNITED STATES DISTRICT COURT
                         THE WESTERN DISTRICT OF ARKANSAS
                                TEXARKANA DIVISION

EQUAL EMPLOYMENT OPPORTUNITY                      )
COMMISSION,                                       )
                                                  )
    Plaintiff,                                    )        CIVIL ACTION NO.
                                                  )
                 v.                               )        4:21-cv-04061-SOH
                                                  )
                                                  )        C O M P L A I N T
TEXAR TREE & TIMBER, LLC                          )
d/b/a TEXAR LINE CLEARANCE                        )        JURY TRIAL DEMAND
                                                  )
    Defendant.




                                  NATURE OF THE ACTION


       This is an action under Title VII of the Civil Rights Act of 1964 and Title I of the Civil

Rights Act of 1991 to correct unlawful employment practices on the basis of race and to provide

appropriate relief to Anthony Willis and a class of former employees of TEXAR Tree & Timber,

LLC d/b/a TEXAR Line Clearance (TEXAR). As alleged with greater particularity in the

paragraphs below, Plaintiff Equal Employment Opportunity Commission alleges TEXAR steered

Anthony Willis (Willis) and other Black applicants into lower-paying positions at hire because of

their race, Black, as compared to non-Black applicants with lesser experience from January 2019

to present. And TEXAR paid Black applicants a lower starting wage rate than non-Black

applicants with lesser experience in the same jobs from January 2019 to present.

                                 JURISDICTION AND VENUE

       1.        Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 451, 1331, 1337,

1343 and 1345. This action is authorized and instituted pursuant to Section 706(f)(1) and (3) of
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Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C.§ 2000e-5(f)(1) and (3) (Title

VII) and pursuant to Section 102 of the Civil Rights Act of 1991, 42 U.S.C. § 1981a.

       2.      The employment practices alleged to be unlawful were and are now being

committed within the jurisdiction of the United States District Court for the Western District of

Arkansas, Texarkana Division.

                                            PARTIES

       3.      Plaintiff, the Equal Employment Opportunity Commission (Commission), is the

agency of the United States of America charged with the administration, interpretation, and

enforcement of Title VII and is expressly authorized to bring this action by Sections 706(f)(1)

and (3) of Title VII, 42 U.S.C. § 2000e-5(f)(1).

       4. At all relevant times, Defendant TEXAR Tree & Timber, LLC dba TEXAR Line

Clearance (TEXAR) has continuously been doing business in the State of Arkansas and the City

of Texarkana and has continuously had at least 15 employees. While TEXAR is headquartered in

Texarkana, AR, TEXAR deploys employees to locations in Arkansas, Texas, and Oklahoma.

       5.      At all relevant times, TEXAR has continuously been an employer engaged in an

industry affecting commerce under Sections 701(b), (g) and (h) of Title VII, 42 U.S.C. §§

2000e(b), (g) and (h).

                                ADMINISTRATIVE PROCESS

       6.      More than 30 days prior to the institution of this lawsuit, Willis filed a charge

with the Commission alleging violations of Title VII by TEXAR.

       7.      On June 23, 2021, the Commission issued to TEXAR a Letter of Determination

finding reasonable cause to believe that TEXAR violated Title VII and inviting TEXAR to join




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with the Commission in informal methods of conciliation to endeavor to eliminate the unlawful

employment practices and provide appropriate relief.

       8.      The Commission engaged in communications with TEXAR to provide TEXAR

the opportunity to remedy the discriminatory practices described in the Letter of Determination.

       9.      The Commission was unable to secure from TEXAR a conciliation agreement

acceptable to the Commission.

       10.     On August 16, 2021, the Commission issued TEXAR a Notice of Failure of

Conciliation advising TEXAR that the Commission was unable to secure from TEXAR a

conciliation agreement acceptable to the Commission.

       11.     All conditions precedent to the institution of this lawsuit have been fulfilled.

                           STATEMENT OF CLAIMS OF ANTHONY WILLIS

       12.     Since at least June 2019, TEXAR has engaged in unlawful employment practices

at its location in Texarkana, AR in violation of Section 703(a) of Title VII, 42 U.S.C. 2000(e).

The unlawful practice includes steering Willis into a lower-paying position at hire because of his

race, Black.

       a.      On or about June 2019, Willis applied for a position with TEXAR.

       b.      TEXAR hired Willis as a chip hand, a laborer position.

       c.      TEXAR knew that Willis had prior operator’s experience.

       c.      Even though Willis had prior operator’s experience, TEXAR did not place Willis

in an operator position.

       d.      TEXAR steered Willis into a laborer position.

       e.      TEXAR pays employees in an operator position at a higher rate of pay than it

pays employees in laborer positions.




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       f.      TEXAR placed non-Black applicants without operator’s experience into higher-

paying operator positions.

       g.      TEXAR did not place Willis into an operator position even though Willis had

prior operator’s experience.

       h.      By steering Willis into a lower-paying position at hire, TEXAR will continue to

pay Willis at a lower rate throughout his employment with TEXAR than it pays non-Black

employees.

       13.     The effect of the practices complained of in Paragraph 12 above has been to

deprive Willis of equal employment opportunities and otherwise adversely affect his status as an

employee because of his race, Black.

       14.     The unlawful employment practices complained of in Paragraph 12 above were

and are intentional.

       15.     The unlawful employment practices complained of in Paragraph 12 above were

and are done with malice or with reckless indifference to the federally protected rights of Willis.

                       STATEMENT OF CLAIMS OF APPLICANTS STEERED
                             INTO LOWER-PAYING POSITIONS

       16.     Since at least January 2019, TEXAR has engaged in unlawful employment

practices at its location in Texarkana, AR in violation of Section 703(a) of Title VII, 42 U.S.C.

2000(e). The unlawful practice includes steering Black applicants into lower-paying positions at

hire because of their race, Black.

       a.      Between the dates of January 2019 to present, TEXAR steered Black applicants

with more experience than non-Black applicants into lower-paying laborer jobs and steered non-

Black applicants into higher-paying positions.

       b.      TEXAR regularly steered non-Black applicants into operator positions and other



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higher-paying positions rather than placing higher-qualified Black applicants into the operator

positions and other higher-paying positions.

       c.      Black applicants were at least as or more qualified than the non-Black applicants

whom TEXAR placed into the operator positions and other higher-paying positions.

       d.      By steering these Black applicants into a lower-paying position at hire, TEXAR

will continue to pay these employees at a lower rate throughout their employment with TEXAR

than it pays non-Black employees.

       17.     The effect of the practices complained of in Paragraph 16 above has been to

deprive a class of Black applicants and employees of equal employment opportunities and

otherwise adversely affect their status as employees because of their race, Black.

       18.     The unlawful employment practices complained of in Paragraph 16 above were

and are intentional.

       19.     The unlawful employment practices complained of in Paragraph 16 above were

and are done with malice or with reckless indifference to the federally protected rights of a class

of Black applicants and employees.

                       STATEMENT OF CLAIMS OF APPLICANTS PAID
                             LOWER WAGE RATES AT HIRE

       20.     Since at least January 2019, TEXAR has engaged in unlawful employment

practices at its location in Texarkana, Arkansas, in violation of Section 703(a) of Title VII, 42

U.S.C. 2000(e). The unlawful practice includes paying Black applicants a starting rate of pay

lower than the starting rates of pay of non-Black applicants at hire.

       a.      Between the dates of January 2019 to present, TEXAR paid Black applicants a

starting wage lower than the starting wage of non-Black applicants in the same position.

       b.      The Black applicants were at least equally or more qualified than the non-Black



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applicants whom TEXAR hired.

       c.      By paying these Black applicants at a lower rate of pay at hire, TEXAR will

continue to pay these Black employees at a lower rate throughout their employment with

TEXAR than it pays non-Black employees.

       21.     The effect of the practices complained of in Paragraph 20 above has been to

deprive a class of Black applicants and employees of equal employment opportunities and

otherwise adversely affect their status as employees because of their race, Black.

       22.     The unlawful employment practices complained of in Paragraph 20 above were

and are intentional.

       23.     The unlawful employment practices complained of in Paragraph 20 above were

and are done with malice or with reckless indifference to the federally protected rights of a class

of Black applicants and employees.

                                       PRAYER FOR RELIEF

       Wherefore, the Commission respectfully requests that this Court:

       A.      Grant a permanent injunction enjoining TEXAR, its officers, agents, servants,

employees, attorneys, and all persons in active concert or participation with it from

discriminating against applicants and employees because of their race, Black.

       B.      Order TEXAR to institute and carry out policies, practices, and programs which

provide equal employment opportunities for Willis and a class of Black applicants and

employees and which eradicate the effects of its past and present unlawful employment practices.

       C.      Order TEXAR to make whole Willis and a class of Black applicants and

employees by providing appropriate backpay with prejudgment interest in amounts to be




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determined at trial and other affirmative relief necessary to eradicate the effects of its unlawful

employment practices, including, but not limited to, instatement or awarding them front pay.

            D.     Order TEXAR to make whole Willis and a class of Black applicants and

employees by providing compensation for past and future pecuniary losses resulting from the

unlawful employment practices described in the Paragraphs above, in amounts to be determined

at trial.

            E.     Order TEXAR to make whole Willis and a class of Black applicants and

employees by providing compensation for past and future non-pecuniary losses resulting from

the unlawful practices complained of in the Paragraphs above, including emotional pain and

suffering, humiliation, inconvenience, and loss of enjoyment of life, in amounts to be determined

at trial.

            F.     Order TEXAR to pay Willis and a class of Black applicants and employees

punitive damages for its malicious and reckless conduct, as described in the Paragraphs above, in

amounts to be determined at trial.

            G.     Grant such further relief as the Court deems necessary and proper in the public

interest.

            H.     Award the Commission its costs of this action.

                                        JURY TRIAL DEMAND

            The Commission requests a jury trial on all questions of fact raised by its complaint.




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